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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

             Western District of Texas
 ____________________            _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                              Check if this is an
                                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name an d the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                         Little River Healthcare Holdings, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used
     in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




3.    Debtor’s federal Employer
                                            XX-XXXXXXX
     Identification Number (EIN)




4.   Debtor’s address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business

                                           1700 Brazos Avenue
                                           ______________________________________________                _______________________________________________
                                           Number         Street                                         Number      Street

                                           ______________________________________________                _______________________________________________
                                                                                                         P.O. Box

                                           Rockdale                    TX       76567
                                           ______________________________________________                _______________________________________________
                                           City                             State      ZIP Code          City                       State     ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                           Milam                   USA
                                           ______________________________________________
                                           County                                                        _______________________________________________
                                                                                                         Number      Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                       State     ZIP Code


5.   Debtor’s website (URL)                http://lrhealthcare.com/
                                           ____________________________________________________________________________________________________


                                           X      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.   Type of debtor
                                                  Partnership (excluding LLP)
                                                  Other. Specify: __________________________________________________________________



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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        Little River Healthcare Holdings, LLC
Debtor _______________________________________________________                         Case number (if known)_____________________________________
         Name



7.    Describe debtor’s business         A. Check one:

                                            X     Health Care Business (as defined in 11 U.S.C. § 101(27A)

                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  Railroad (as defined in 11 U.S.C. § 101(44))

                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                  None of the above

                                         B. Check all that apply:
                                                  Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            NAICS Code 622000
8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
                                                 Chapter 7
      debtor filing?
                                                 Chapter 9
                                            X Chapter 11. Check all that apply:

                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                  affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3
                                                                  years after that).

                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                                  small business debtor, attach the most recent balance sheet, statement of operations,
                                                                  cash-flow statement, and federal income tax return or if all of these documents do not
                                                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).

                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                                  and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of
                                                                  1934. File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                  under Chapter 11 (Official Form 201A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                                Chapter 12

9.    Were prior bankruptcy cases       X       No
      filed by or against the debtor            Yes      District _______________________ When _______________        Case number ________________________
      within the last 8 years?                                                                    MM/DD/YY

      If more than 2 cases, attach a                     District _______________________ When _______________        Case number ________________________
      separate list.                                                                              MM/DD/YY

10.   Are any bankruptcy cases                  No
      pending or being filed by a
                                        X       Yes             See Schedule 1
                                                         Debtor _____________________________________________         Relationship _________________________
      business partner or an
      affiliate of the debtor?                           District _____________________________________________            When _______________
      List all cases. If more than 1,                                                                                                 MM/DD/YY
      attach a separate list.                            Case number, if known _________________________________


Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor          Little River Healthcare Holdings, LLC
                _______________________________________________________                                               Case number (if known)_____________________________________
                Name




11.   Why is the case filed in this                 Check all that apply:
      district?
                                                    X    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                        district.
                                                    X
                                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have                   X No
      possession of any real
      property or personal property                      Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                                    What is the hazard? _____________________________________________________________________

                                                                    It needs to be physically secured or protected from the weather.

                                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                    assets or other options).

                                                                    Other _______________________________________________________________________________



                                                               Where is the property? _____________________________________________________________________
                                                                                                 Number             Street

                                                                                                ____________________________________________________________________
                                                                                                _______________________________________                     _______        ________________
                                                                                                City                                                        State          ZIP Code


                                                               Is the property insured?
                                                                   No
                                                                    Yes. Insurance agency ____________________________________________________________________

                                                                           Contact name          ____________________________________________________________________

                                                                           Phone                 ________________________________
            For more detailed information regarding rig insurance, see the [Motion of Debtors for Interim and Final Authority to Amend and Continue Their Insurance Programs and Pay All Obligations
            with Respect Thereto Pursuant to Sections 105(a), 362(d), 363(b), and 503(b) of the Bankruptcy Code and Bankruptcy Rules 4001, 6003, and 6004], filed concurrently herewith.


             Statistical and administrative information



13. Debtor’s   estimation of                        Check one:
      available funds                              X     Funds will be available for distribution to unsecured creditors.
                                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                                   X    1-49                                      1,000-5,000                                          25,001-50,000
14.   Estimated number of                               50-99                                     5,001-10,000                                         50,001-100,000
       creditors (on a
                                                        100-199                                   10,001-25,000                                         More than 100,000
      consolidated basis)                               200-999

                                                   X     $0-$50,000                               $1,000,001-$10 million                               $500,000,001-$1 billion
15.   Estimated assets                                   $50,001-$100,000                         $10,000,001-$50 million                              $1,000,000,001-$10 billion
      (on a consolidated basis)                          $100,001-$500,000                        $50,000,001-$100 million                              $10,000,000,001-$50 billion
                                                         $500,001-$1 million                      $100,000,001-$500 million                            More than $50 billion




  Official Form 201                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
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Debtor         Little River Healthcare Holdings, LLC
               _______________________________________________________                           Case number (if known)_____________________________________
               Name



                                             $0-$50,000                           $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                  $50,001-$100,000                     $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                                                            X
                                             $100,001-$500,000                    $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million                  $100,000,001-$500 million                More than $50 billion



             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of
                                         X   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                             petition.
      debtor

                                         X   I have been authorized to file this petition on behalf of the debtor.


                                         X I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on _07/24/2018___
                                                          MM /DD/ YYYY


                                               /s/ Ronald Winters
                                             _____________________________________________
                                             Signature of authorized representative of debtor
                                                                                                         Ronald Winters
                                                                                                         _______________________________________________
                                                                                                         Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




      Signature of attorney
                                        
18.
                                                /s/ Morris D. Weiss
                                             _________________________________________________________________________________________________
                                             Signature of attorney for debtor

                                             Morris D. Weiss
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Waller Lansden Dortch & Davis, LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                             100 Congress Avenue, Suite 1800
                                             _________________________________________________________________________________________________
                                             Address
                                             Austin, TX 78710
                                             _________________________________________________________________________________________________
                                             City, State Zip
                                             (512) 685-6400
                                             _________________________________________________________________________________________________
                                             Contact phone

                                             morris.weiss@wallerlaw.com
                                             _________________________________________________________________________________________________
                                             Email address
                                             21110850                  Texas
                                             _________________________________________________________________________________________________
                                             Bar number                State

                                             _____07/24/2018________________________________________________________________________________
                                             Date   MM/DD/YYYY




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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                                                  Schedule 1

                Pending Bankruptcy Cases Filed by Debtor and Affiliates of Debtor
                    Schedule 1 - sub 1
                 On the date hereof, each of the affiliated entities listed below, including the debtor in
 this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the United
 States Code in the United States Bankruptcy Court for the Western District of Texas (the
 “Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the
 entities listed below be consolidated for procedural purposes only and jointly administered,
 pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number
 assigned to the chapter 11 case of Little River Healthcare Holdings, LLC


                                         Debtor                                         Tax ID #
      1      Cantera Way Ventures, LLC                                                 XX-XXXXXXX
      2      Compass Pointe Holdings, LLC                                              XX-XXXXXXX
      3      King's Daughters Pharmacy, LLC                                            XX-XXXXXXX
      4      Little River Healthcare - Physicians of King's Daughters, LLC             XX-XXXXXXX
      5      Little River Healthcare Holdings, LLC                                     XX-XXXXXXX
      6      Little River Healthcare Management, LLC                                   XX-XXXXXXX
      7      Rockdale Blackhawk, LLC                                                   XX-XXXXXXX
      8      Timberlands Healthcare, LLC                                               XX-XXXXXXX




                                           Schedule 1 - Page 1
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                   UNANIMOUS WRITTEN CONSENT OF THE MANAGERS
               AND MEMBER OF LITTLE RIVER HEALTHCARE HOLDINGS, LLC

                                                  July 12, 2018

         Pursuant to and in accordance with Section 6.201 of the Texas Business Organizations
  Code (the “Code”), Section 6.01 of the Second Amended and Restated Operating Agreement of
  Compass Pointe Holdings, LLC, and Section 2.1 of the Third Amended and Restated Company
  Agreement of Little River Healthcare Holdings, LLC (the “Company”) dated March 31, 2017
  (the “Operating Agreement”) 1 , the undersigned, constituting all of the Managers (the
  “Managers”) and the sole Member of the Company (the “Member”), hereby take action,
  without holding a meeting, providing notice, or taking a vote, and consent to the adoption of the
  following resolutions as of the date first written above:

          WHEREAS, the following resolutions are being adopted by the Managers and the
  Member in the name and on behalf of the Company, acting (i) in their own capacity, and (ii) in
  its capacity as the sole member of Company (such capacities being referred to herein as the
  “Applicable Capacities”); and

          WHEREAS, Compass Pointe Holdings, LLC is the sole member holding a Membership
  Interest in the Company; and

         WHEREAS, on June 25, 2018, the Company entered into an engagement letter with
  Healthcare Management Partners, LLC (“HMP”) for HMP to provide certain financial and
  business advisory services to Company (the “Engagement Agreement”); and

         WHEREAS, Section 2.3 of the Operating Agreement provides that the Managers may,
  from time to time, designate one or more Persons to be officers of the Company and designate
  the specific authority and duties of such officer; and

        WHEREAS, the Company and the Managers desire to designate Ronald Winters
  (“Winters”) as the Chief Restructuring Officer (“CRO”) and Derek Pierce (“Pierce”) as the
  Chief Financial Officer (“CFO”) of the Company with such duties as set forth in the
  Engagement Agreement; and

          WHEREAS, Section 2.1 of the Operating Agreement provides that the business affairs
  of the Company shall be managed under the direction of the Managers in the ordinary course of
  business; and

           WHEREAS, the Company is insolvent and unable to pay its debts when due; and

         WHEREAS, it is desirable and in the best interest of the Company, its creditors, its
  equity holders, and other interested parties, that a petition (the “Petition”) be filed seeking relief

           1
            All capitalized terms used herein and not otherwise defined shall have the same meaning as ascribed to
  them in the Operating Agreement.
  4850-7919-7020.4
                                                         1

                                [Little River Healthcare Holdings, LLC Resolutions]
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  under the provisions of Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”) in
  which the authority to operate as a debtor-in-possession will be sought;

  Appointment of Chief Restructuring Officer and Chief Financial Officer

           NOW THEREFORE, IT IS HEREBY RESOLVED, that Winters is appointed as the
  CRO and Pierce is appointed as the CFO of the Company effective as of the date of the executed
  Engagement Agreement, to act on behalf of the Company in the transaction of the business of
  the Company and to serve in the capacities as set forth in the Engagement Agreement until
  death, resignation, removal, or termination of the Engagement Agreement by the Company; and
  it is further

       RESOLVED, Winters and Pierce, as officers of the Company, shall be covered by the
  Company’s Director’s and Officer’s Liability Policy; and it is further

  Bankruptcy Filing

          RESOLVED, that the Managers and the Member find that the execution, delivery, and
  filing of the Petition is necessary and convenient to the conduct, promotion, and attainment of
  the business and purpose of the Company and that the execution, delivery, and filing of the
  Petition, is reasonably expected to directly and indirectly benefit the Company and is in the best
  interest of the Company; and it is further

          RESOLVED, that in the judgment of the Managers and Member, it is desirable and in
  the best interest of the Company, its creditors, its equity holders, and other interested parties,
  that the Petition be filed seeking relief under the provisions of Chapter 11 of the Bankruptcy
  Code in which the authority to operate as a debtor-in-possession will be sought, and the filing of
  the Petition is authorized hereby, and the Company shall initiate a case and proceedings; and it
  is further

          RESOLVED, that each of the Managers and any duly elected and appointed officers of
  the Company, including Peggy Borgfeld, Jeffrey Madison, Winters, and Pierce (collectively, the
  “Authorized Persons” and each an “Authorized Person”) be, and hereby are, authorized and
  directed, for and on behalf of the Company, to execute and verify the Petition in the name of the
  Company under Chapter 11 of the Bankruptcy Code and cause the same to be filed in the United
  States Bankruptcy Court for the Western District of Texas, in their Applicable Capacities, and
  without necessity for joinder or consent of any other person, with such changes therein as such
  Authorized Person executing the same shall approve, such approval to be evidenced
  conclusively by his or her execution and delivery of the Petition; and it is further

         RESOLVED, that the Authorized Persons of the Company, or any of them, are hereby
  authorized to execute, verify and/or file or cause to be filed (or direct others to do so on their
  behalf), all documents including, without limitation, petitions, schedules, lists, affidavits,
  motions, pleadings, and other papers, and to take any and all action which they deem necessary
  or proper in connection with such proceedings under Chapter 11, and in that connection to retain
  4850-7919-7020.4
                                                    2

                            [Little River Healthcare Holdings, LLC Resolutions]
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  and employ Waller Lansden Dortch & Davis, LLP, as principal bankruptcy counsel; and to
  retain and employ other legal counsel or professionals which they may deem necessary or proper
  with a view to the successful conclusion of such bankruptcy case (together, the “Restructuring
  Professionals”); and it is further

          RESOLVED, that the Authorized Persons of the Company are hereby authorized and
  directed to execute retention agreements, pay retainers, prior to, immediately upon and after the
  filing of the bankruptcy case, and to cause to be filed an application for authority to retain the
  services of the Restructuring Professionals; and it is further

  Debtor-in-Possession Financing

          RESOLVED, that the Company, as debtor-in-possession be, and hereby is, authorized to
  enter into negotiations with lenders for debtor-in-possession financing and enter into such
  agreements as it deems necessary to obtain debtor-in-possession financing including, but not
  limited to, guaranty, pledge, mortgage, and other security agreements; and it is further

           RESOLVED, that the Company, as debtor-in-possession be, and hereby is, authorized to
  file, or cause to be filed, a motion to use cash collateral of Monroe Capital Corporation, Monroe
  Capital Management Advisors, and/or Monroe Capital Partners Fund, LP, to fund its operations;
  and it is further

          RESOLVED, that each of the Authorized Persons be, and hereby is, authorized,
  empowered and directed for and on behalf of the Company, in its Applicable Capacities, to
  execute and deliver on behalf of the Company such other documents, to take, or cause to be
  taken, such further action for and on behalf of the Company as such Authorized Person shall
  deem necessary or appropriate to enable the Company to perform its respective obligations and
  exercise its respective rights under Chapter 11 and otherwise to carry out the intent and purpose
  of the foregoing resolutions and the transactions contemplated thereby; and it is further

          RESOLVED, that any and all actions heretofore taken, and any and all things
  theretofore done, by the Authorized Person or other representative of the Company, in
  connection with, or with respect to, the matters referred to in the foregoing resolutions be, and
  they hereby are, confirmed, ratified and approved as authorized and valid acts taken on behalf of
  the Company, as the case may be.

                            [SIGNATURES ON FOLLOWING PAGE]




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                                                    3

                            [Little River Healthcare Holdings, LLC Resolutions]
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            IN WITNESS WHEREOF, the undersigned have executed this Consent, effective as of
    the date first written above.

                                        MANAGERS:




    4850-7919-7020.4
                                                   4

                           [Little River Healthcare Holdings, LLC Resolutions]
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                                    MEMBER:




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                                                 5

                        [Little River Healthcare Holdings, LLC Resolutions]
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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                          §
 In re:                                                   §          Chapter 11
                                                          §
 LITTLE RIVER HEALTHCARE                                  §          Case No. 18-_____-__
 HOLDINGS, LLC, et al.                                    §
                                                          §
                              Debtors.1                   §          (Joint Administration Requested)
                                                          §

                    CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

          Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1) and 7007.1, attached

 hereto as Exhibit A is an organizational chart reflecting all of the ownership interests in

 Compass Pointe Holdings, LLC (“LRH Parent”) and certain of its subsidiaries (the “Non-Parent

 Debtors”), as proposed debtors and debtors in possession in the above-captioned chapter 11

 cases (collectively, the “Debtors”). LRH Parent, on behalf of itself and the Non-Parent Debtors,

 respectfully represents as follows:

         Each Debtor listed in Exhibit A is 100% owned by its direct parent unless otherwise

          noted.

         LRH Parent is the ultimate parent company of each of the Non-Parent Debtors, and

          directly or indirectly owns a 100% equity interest in each of the Non-Parent Debtors

          unless otherwise noted.




 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Compass Pointe Holdings, LLC (1142), Little River Healthcare Holdings, LLC (7956),
 Timberlands Healthcare, LLC (1890), King’s Daughters Pharmacy, LLC (7097), Rockdale Blackhawk, LLC (0791),
 Little River Healthcare - Physicians of King’s Daughters, LLC (5264), Cantera Way Ventures, LLC (7815), and
 Little River Healthcare Management, LLC (6688). The Debtors’ mailing address is 1700 Brazos Ave, Rockdale, TX
 76567.


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         LRH Parent’s equity securities are privately held. As of the date hereof, the Jeff and

          Ashley Madison Management Trust and Ryan Downton own 10% of the membership

          interests of LRH Parent.




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                                        21


  Fill in this information to identify the case:

  Debtor name     LITTLE RIVER HEALTHCARE HOLDINGS, LLC, et al.

  United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS - AUSTIN DIVISION

  Case number (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
 sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is
 not included in the document, and any amendments of those documents. This form must state the individual’s position or
 relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
 property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       partnership; or another individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true
       and correct:

             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
             Amended Schedule:_______________________

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
             Claims and Are Not Insiders (Official Form 204)
             Other document that requires declaration:
             CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on     07/24/2018                     X /s/ Ron Winters
                                                          Signature of individual signing on behalf of debtor


                                                          Ron Winters
                                                          Printed name


                                                          Chief Restructuring Officer
                                                          Position or relationship to debtor
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                                    Exhibit A

                               Organizational Chart




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                                                                     21




                                                   Little River Medical Group                   Compass Pointe 
                                                              501(a)                             Holdings, LLC*
                                                       Tax ID: 46‐2518720                      Tax ID: 81‐4561142




                                                                                            100 % Membership Interest

                                                                                             Little River Healthcare 
                                                                                                  Holdings LLC*
                                                                                               Tax ID: 32‐0457956




100% Membership Interest                                                                                                                                                         100% Membership Interest    100% Membership Interest
                                 Timberlands                King’s Daughters                                                        Cantera Way       Little River Healthcare 
                                                                                       Rockdale Blackhawk LLC*
  Little River Healthcare      Healthcare, LLC*             Pharmacy, LLC*                                                         Ventures, LLC*       Management, LLC*             Quartz Mountain         SyneSource Holdings, LLC
                                                                                          Tax ID: 20‐5220791
 Consulting Holdings, LLC     Tax ID: 35‐2561890           Tax ID: 81‐2897097                                                    Tax ID: 81‐1457815     Tax ID:  81‐2306688       Healthcare Holdings, LLC      Tax ID: 32‐0945299
    Tax ID: 82‐1807725                                                                                                                                                              Tax ID: 81‐4437277




60% Membership Interest                                        100% Membership Interest                 51% Membership Interest                                                                              60% Membership Interest
                                                                 Little River Healthcare 
  Little River Healthcare                                          Physicians of King’s                                                                                           Blackhawk Magnum, LLC
                                                                                                         Little River Healthcare –                                                                           SyneSource Management 
      Consulting, LLC                                                Daughters LLC*                                                                                                  Tax ID: 68‐0612211
                                                                                                             Meridian Surgery                                                                                       Group, LLC
    Tax ID: 82‐1807807                                            Tax ID: 74‐2795264                             Center LLC                                                                                     Tax ID: 81‐1135001




                                                                                                         Little River Healthcare –
40% Membership Interest                                                                                                                                                                                         Other Shareholders
                                                                                                         Meridian Surgery Center 
                                                                                                                     LLC
           TCD                                                                                                                                                                                                40% Membership Interest
                                                                                                            Tax ID: 61‐1693256




                                                                                                          Other Shareholders
                                                                                                        49% Membership Interest

                                                                                                         Little River Healthcare –
                                                                                                         Meridian Surgery Center 
                                                                                                                     LLC

                 * = Debtor
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                                                      21

      Fill in this information to Identify the case:

      Debtor Name: Little River Healthcare Holdings, LLC
                                                                                                                                        Check if this is an
      United States Bankruptcy Court for the:      Western District of Texas                                                            amended filing
      Case Number (If known):       18-_____




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 20 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                         professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                         services, and         or disputed     setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                               Total claim, if       Deduction          Unsecured
                                                                                                               partially secured     for value of       claim
                                                                                                                                     collateral or
                                                                                                                                     setoff

  1       AMERICAN EXPRESS 1017                CONTACT: SHRADDHA          TRADE DEBTS                              $3,526,254.25
          1105 LAUREL OAK RD.                  BHARATIA, CLAIMS ADMIN
          SUITE 136                            FAX: 9787386942
          VOORHEES, NJ 08043                   proofofclaim@becket-
                                               lee.com
  2       OUTREACH MANAGEMENT                  PHONE: 8774435227          TRADE DEBTS                              $3,402,221.94
          SOLUTIONS, LLC                       FAX: 8043432704
          DBA TRUE HEALTH OUTREACH             info@truehealthdiag.com
          6710 RESEARCH RD, SUITE 211
          FRISCO, TX 75033
  3       CERNER CORPORATION                   CONTACT: MARK C ELKINS     TRADE DEBTS                              $1,401,434.82
          2800 ROCKCREEK PARKWAY               PHONE: 8162010550
          KANSAS CITY, MO 64117                FAX: 8162017057
                                               melkins@cerner.com
  4       PHARMERICA HOSPITAL PHARMACY         CONTACT: BERNARD          TRADE DEBTS                               $1,362,923.86
          SERVICES, LLC DBA LUKER              RICHARDSON
          PHARMACY                             PHONE: 8308334499
          1901 CAMPUS PLACE                    FAX: 8308335960
          LOUISVILLE, KY 40299                 dluker@lukerrx.com;
                                               Bernard.Richardson@pharme
                                               rica.com
  5       JACOBS MARKETING, INC.                                          SETTLEMENT                               $1,329,340.31
          17484 NW FREEWAY, SUITE 276
          HOUSTON, TX 77040
  6       NEXT LEVEL HEALTHCARE                CONTACT: TINA BARKSDALE SETTLEMENT                                    $761,286.00
          CONSULTANTS                          PHONE: 8448079734
          47 SOUTH WIND DRIVE                  Tina.Barksdale@nlhpartners.
          MONTGOMERY, TX 77356                 com




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                   Page 1
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  Debtor: Little River Healthcare Holdings, LLC    21        Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  7     HING-SHEUNG EUGENE FUNG, M.D.,     CONTACT: EUGENE FUNG,       SETTLEMENT                                  $629,153.49
        P.A.                               M.D. AND ALISON FUNG
        611 W. HIGHWAY 6, STE. 101         PHONE: 2547554582
        WACO, TX 76710                     FAX: 2547554585
  8     REV MD PARTNERS, LLC               PHONE: 8558969990           TRADE DEBTS                                 $601,030.32
        1111 PASQUINELLI DR                FAX: 6307494292
        SUITE 400                          sales@revmdpartners.com
        WESTMONT, IL 60559
  9     ASCEND PROFESSIONAL                CONTACT: MARK SWARTZ      TRADE DEBTS                                   $600,611.77
        CONSULTING INC                     mswartz@ascendplanning.co
        1391 CALDER AVENUE SUITE A         m
        BEAUMONT, TX 77701
  10    GE HEALTHCARE #14456               PHONE: 8005263593           TRADE DEBTS                                 $464,883.28
        500 W. MONROE STREET               FAX: 8772958102
        CHICAGO, IL 60661                  GEHCWire@ge.com; cs-
                                           us@ge.com
  11    DML SLEEP DIAGNOSTICS, LLC                                     TRADE DEBTS                                 $362,436.54
        14603 HUEBNER ROAD
        BUILDING 2
        SAN ANTONIO, TX 78230
  12    ALCON LABORATORTIES, INC           CONTACT: JASON CHAVEZ      TRADE DEBTS                                  $349,790.16
        ALCON LABORATORIES INC PNC         PHONE: 8175686580
        BANK\LOCKBOX                       FAX: 8175687153
        3714 SOLUTIONS CENTER              jason.chavez@alconlabs.com
        CHICAGO, IL 60677
  13    GE HEALTHCARE FIN SERVICE          CONTACT: LISA M. PETERS     EQUIPMENT LEASE                             $329,075.78
        P.O. BOX 641419                    PHONE: (402) 661-8609
        PITTSBURGH, PA 15264-1419          FAX: (402) 346-1148
                                           Lisa.Peters@KutakRock.com
  14    SHI INTERNATIONAL CORP             CONTACT: GREG ROHLEDER      TRADE DEBTS                                 $319,048.60
        290 DAVIDSON AVENUE                & JENNY FRANCIS
        SOMERSET, NJ 08873                 PHONE: 8882353871
                                           Greg_Rohleder@shi.com;
                                           jenny_francis@shi.com
  15    ARAMARK UNIFORM SERVICE INC        CONTACT: MIKE FADDEN,     TRADE DEBTS                                   $290,527.00
        115 N FIRST ST                     PRESIDENT
        BURBANK, CDA 91502                 PHONE: 8889996780
                                           FAX: 8594221760
                                           m.fadden@uniform.aramark.
                                           com
  16    BBL, LLC                           CONTACT: JIM CHURCH &       TRADE DEBTS                                 $252,142.86
        DBA BBL CONSTRUCTION SERVICES      KEVIN MOORE
        LLC                                jchurch@bblinc.com;
        302 WASHINGTON AVE EXTENSION       kmoore@bblinc.com
        ALBANY, NY 12203
  17    GRANT THORNTON LLP                 CONTACT: TIFFANY HARPER     TRADE DEBTS                                 $246,257.18
        33562 TREASURY CENTER              PHONE: 3126028948
        CHICAGO, IL 60694-3500             FAX: 3126028099
                                           tiffany.harper@us.gt.com
  18    GA HC REIT II TEMPLE MOB, LLC      PHONE: 2149165670           TRADE DEBTS                                 $231,143.40
        62781 COLLECTION CENTER DRIVE
        CHICAGO, IL 60693-0627




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                    Page 2
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  Debtor: Little River Healthcare Holdings, LLC    21        Case Number (if known): 18-_____01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  19    SCI SOLUTIONS                      FAX: 4083780347           TRADE DEBTS                                 $214,872.23
        720 THIRD AVENUE                   ar@scisolutions.com
        SUITE 1000
        SEATTLE, WA 98104
  20    COMPUTER PROGRAMS ANS              PHONE: 8007112774         TRADE DEBTS                                 $202,503.11
        SYSTEMS, INC                       FAX: 2516398214
        EVIDENT LLC                        sales@evident.com
        6600 WALL STREET
        MOBILE, AL 36695




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                  Page 3
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                                        21


  Fill in this information to identify the case:

  Debtor name       LITTLE RIVER HEALTHCARE HOLDINGS, LLC, et al.

  United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS - AUSTIN DIVISION

  Case number (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
 sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is
 not included in the document, and any amendments of those documents. This form must state the individual’s position or
 relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
 property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       partnership; or another individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true
       and correct:

             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
             Amended Schedule:_______________________

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
             Claims and Are Not Insiders (Official Form 204)
             Other document that requires declaration: ___________________________________


       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on     7/24/2018                      X /s/ Ronald Winters
                                                          Signature of individual signing on behalf of debtor


                                                          Ronald Winters
                                                          Printed name


                                                          Chief Restructuring Officer
                                                          Position or relationship to debtor




 4829-2602-4556.1
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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                 §
 In re:                                          §        Chapter 11
                                                 §
 LITTLE RIVER HEALTHCARE                         §        Case No. 18-_____-__
 HOLDINGS, LLC,                                  §
                                                 §
                           Debtor.               §
                                                 §

              LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
      RULE 1007(a)(3) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

          Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the following is a list of

 equity security holders of the above-captioned debtor:



      Name and Last Known Address of                 Kind/Class               Number of
          Equity Interest Holder                     of Interest            Interests Held
       Compass Pointe Holdings, LLC
            1700 Brazos Avenue                  Membership Interest              100%
            Rockdale, TX 76567


                                                 .




 4848-1101-0155.2
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                                        21


  Fill in this information to identify the case:

  Debtor name       LITTLE RIVER HEALTHCARE HOLDINGS, LLC

  United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS - AUSTIN DIVISION

  Case number (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
 sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is
 not included in the document, and any amendments of those documents. This form must state the individual’s position or
 relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
 property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       partnership; or another individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true
       and correct:

             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
             Amended Schedule:_______________________

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
             Claims and Are Not Insiders (Official Form 204)
             Other document that requires declaration: LIST OF EQUITY SECURITY HOLDERS

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on     07/24/2018                     X /s/ Ronald Winters
                                                          Signature of individual signing on behalf of debtor


                                                          Ronald Winters
                                                          Printed name


                                                          Chief Restructuring Officer
                                                          Position or relationship to debtor




 4848-1101-0155.2
